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                             CASE NO. 4:21-cv-03369

                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

                         In Re McDermott International, Inc.

                                       Debtor

                            Michael Van Deelen
                                 Appellant
                                     v.
         David Dickson, Stuart Spence, Scott Lamb, Joshua Sussberg
                                 Appellees

  On Appeal from the U.S. Bankruptcy Court for the Southern District of Texas
                          (Honorable David Jones)

                            Bankruptcy No. 20-30336
                         Adversary Proceeding No. 20-3309

                               APPELLEES’ BRIEF

Dated: January 6, 2022
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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 8012 of the Federal Rules of Bankruptcy Procedure, the

following table identifies each debtor not named in the case caption and, for each

debtor corporation not named in the case caption, any parent corporation or publicly

held corporation owning 10% or more of such debtor corporation’s stock.

 Debtor                                  Parent for Debtor Corporations

 850 Pine Street LLC                     CB&I Group Inc.
 A & B Builders, Ltd.                    Matrix Engineering, Ltd. (MANAGED
                                         BY HOWE-BAKER
                                         INTERNATIONAL MANAGEMENT,
                                         L.L.C.)
 Aiton & Co Limited                      Shaw Group UK Limited
 Arabian CBI Co Ltd.                     CB&I Singapore Pte. Ltd.; Chicago
                                         Bridge & Iron Company B.V.
 Arabian CBI Tank Manufacturing          CB&I Singapore Pte. Ltd.; Chicago
 Company Ltd.                            Bridge & Iron Company B.V.
 Asia Pacific Supply Co.                 Chicago Bridge & Iron Company
 Atlantic Contingency Constructors II,   Shaw Home Louisiana, LLC
 LLC
 Atlantis Contractors Inc.               Chicago Bridge & Iron Company
 CB&I (US) Holdings, Limited             Comet II B.V.
 CB&I Brazil Holdings, Inc.              CB&I International, Inc.
 CB&I Canada Ltd.                        CB&I Power Company B.V.
 CB&I Clearfield, Inc.                   CB&I Group Inc.
 CB&I Cojafex B.V.                       CB&I Group Inc.
 CB&I Connecticut, Inc.                  CB&I Group Inc.
 CB&I Constructors Limited               CB&I Holdings (UK) Limited
 CB&I El Dorado, Inc.                    CB&I Group Inc.
 CB&I Energy Services, LLC               CB&I Group Inc.
 CB&I Europe B.V.                        CB&I Power Company B.V.
 CB&I Fabrication, LLC                   CB&I Group Inc.
 CB&I Finance Company Limited            Chicago Bridge & Iron Company B.V.
 CB&I Financial Resources LLC            Chicago Bridge & Iron Company

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Debtor                                Parent for Debtor Corporations
CB&I Global Operations                CB&I Singapore Pte. Ltd.
International, Pte. Ltd.
CB&I Global Operations US Pte. Ltd. CB&I Singapore Pte. Ltd.; Chicago
                                    Bridge & Iron Company
CB&I Global, L.L.C.                 CB&I UK LIMITED
CB&I Group Inc.                     Chicago Bridge & Iron Company
CB&I Group UK Holdings              CB&I Global, L.L.C.
CB&I Holdco International, LLC      CB&I Holdco, LLC
CB&I Holdco, LLC                    CB&I Group Inc.
CB&I Holdings (UK) Limited          Chicago Bridge & Iron Company B.V.
CB&I Holdings B.V.                  Comet II B.V.
CB&I Houston 06 LLC                 CB&I UK LIMITED
CB&I Houston 07 LLC                 CB&I UK LIMITED
CB&I Houston 08 LLC                 CB&I UK LIMITED
CB&I Houston 09 LLC                 CB&I UK LIMITED
CB&I Houston 10 LLC                 CB&I UK LIMITED
CB&I Houston 11 LLC                 CB&I UK LIMITED
CB&I Houston 12 LLC                 CB&I UK LIMITED
CB&I Houston 13 LLC                 CB&I UK LIMITED
CB&I Houston LLC                    CB&I UK LIMITED
CB&I International One, LLC         CB&I International, Inc.
CB&I International, Inc.            CB&I Group Inc.
CB&I International, LLC             CB&I Holdco, LLC
CB&I Laurens, Inc.                  CB&I Group Inc.
CB&I LLC                            CB&I Holdco, LLC
CB&I London                         CB&I Paddington Limited
CB&I Matamoros, S. de R. L. de C.V. CB&I Rio Grande Valley Fabrication &
                                    Manufacturing, L.L.C.
CB&I Middle East Holding, Inc.      CB&I International, Inc.
CB&I Nederland B.V.                 CB&I Oil & Gas Europe B.V.
CB&I North Carolina, Inc.           CB&I Holdco, LLC
CB&I Offshore Services, Inc.        CB&I Energy Services, LLC
CB&I Oil & Gas Europe B.V.          Chicago Bridge & Iron Company B.V.
CB&I Paddington Limited             CB&I Tyler LLC
CB&I Power Company B.V.             Chicago Bridge & Iron Company B.V.
CB&I Power International, Inc.      CB&I International, Inc.
CB&I Power Limited                  CB&I Oil & Gas Europe B.V.
CB&I Power, LLC                     CB&I Group Inc.
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Debtor                                 Parent for Debtor Corporations
CB&I Project Services Group, LLC       CB&I Holdco, LLC
CB&I Rio Grande Holdings, L.L.C.       CB&I Rio Grande Valley Fabrication &
                                       Manufacturing, L.L.C.
CB&I Rio Grande Valley Fabrication     Shaw Power Services, LLC
& Manufacturing, L.L.C.
CB&I Rusland B.V.                      CB&I Oil & Gas Europe B.V.
CB&I Singapore Pte. Ltd.               CB&I Oil & Gas Europe B.V.
CB&I Storage Tank Solutions LLC        CB&I LLC
CB&I STS Delaware LLC                  Chicago Bridge & Iron Company
CB&I STS Holdings LLC                  Chicago Bridge & Iron Company
CB&I Tyler LLC                         Chicago Bridge & Iron Company
CB&I UK LIMITED
CBI Americas Ltd.                      Chicago Bridge & Iron Company
CBI Company B.V.                       CBI Company Two B.V.
CBI Company Ltd.                       Chicago Bridge & Iron Company
CBI Company Two B.V.                   CB&I Oil & Gas Europe B.V.
CBI Constructors Pty. Ltd.             Chicago Bridge & Iron Company B.V.
CBI Eastern Anstalt                    Chicago Bridge & Iron (Antilles) N. V.
CBI HoldCo Two Inc.                    CBI Company B.V.
CBI Overseas (Far East) Inc.           CB&I International, Inc.; CBI UK
                                       Cayman Acquisition Limited
CBI Overseas, LLC                      Chicago Bridge & Iron (Antilles) N. V.
CBI Panama, S.A.                       Chicago Bridge & Iron Company B.V.
CBI Services, LLC                      CB&I Holdco, LLC
CBI UK Cayman Acquisition Limited      CB&I International, Inc.
CBI US Holding Company Inc.            Comet II B.V.
Central Trading Company Ltd.
Chartering Company (Singapore) Pte.    J. Ray McDermott, S.A.
Ltd.
Chicago Bridge & Iron (Antilles)       Chicago Bridge & Iron Company B.V.
N.V.
Chicago Bridge & Iron Company          Chicago Bridge & Iron Company
Chicago Bridge & Iron Company          Chicago Bridge & Iron Company
(Delaware)
Chicago Bridge & Iron Company          Lealand Finance Company B.V.
B.V.
Chicago Bridge de Mexico, S.A. de      Chicago Bridge & Iron Company B.V.
C.V.

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Debtor                               Parent for Debtor Corporations
Comet II B.V.
Constructors International, L.L.C.   Howe-Baker International, L.L.C.
CSA Trading Company Ltd.             Chicago Bridge & Iron Company
Eastern Marine Services, Inc.        Hydro Marine Services, Inc.
EDS Equipment Company, LLC           Shaw Transmission & Distribution
                                     Services, Inc.
Environmental Solutions (Cayman)     Environmental Solutions Holding Ltd.
Ltd.
Environmental Solutions Holding Ltd. Shaw Home Louisiana, LLC
Environmental Solutions Ltd.         Environmental Solutions (Cayman) Ltd.
HBI Holdings, LLC                    Howe-Baker International Management,
                                     LLC
Highland Trading Company, Ltd.       Chicago Bridge & Iron Company
Horton CBI, Limited                  Chicago Bridge & Iron Company B.V.
Howe-Baker Engineers, Ltd.           Howe-Baker Holdings, L.L.C.
Howe-Baker Holdings, L.L.C.          Howe-Baker International, L.L.C.
Howe-Baker International             Howe-Baker International, L.L.C.
Management, LLC
Howe-Baker International, L.L.C.     CB&I LLC
Howe-Baker Management, L.L.C.        Howe-Baker Holdings, L.L.C.
Hydro Marine Services, Inc.          J. Ray McDermott, S.A.
International Consultants, L.L.C.    CB&I Holdco, LLC
J. Ray Holdings, Inc.                J. Ray McDermott (Luxembourg) S.ar.l.
J. Ray McDermott (Aust.) Holding     North Atlantic Vessel, Inc.
Pty. Limited
J. Ray McDermott (Norway), AS        J. Ray McDermott International, Inc.
J. Ray McDermott (Qingdao) Pte. Ltd. McDermott Asia Pacific Pte. Ltd.
J. Ray McDermott de Mexico, S.A. de J. Ray McDermott Underwater Services,
C.V.                                 Inc.
J. Ray McDermott Far East, Inc.      J. Ray McDermott International, Inc.
J. Ray McDermott Holdings, LLC       J. Ray Holdings, Inc.
J. Ray McDermott International       OPI Vessels, Inc.
Vessels, Ltd.
J. Ray McDermott International, Inc. J. Ray McDermott, S.A.
J. Ray McDermott Solutions, Inc.     McDermott, Inc.
J. Ray McDermott Technology, Inc.    J. Ray McDermott Holdings, LLC
J. Ray McDermott Underwater          J. Ray McDermott International, Inc.
Services, Inc.

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Debtor                                Parent for Debtor Corporations
Lealand Finance Company B.V.          Comet II B.V.
Lummus Arabia Ltd. Co.                CB&I Nederland B.V.
Lutech Project Solutions B.V.         CB&I Oil & Gas Europe B.V.
Lutech Projects B.V.                  CB&I Oil & Gas Europe B.V.
Lutech Resources B.V.                 CB&I Oil & Gas Europe B.V.
Lutech Resources Canada Ltd.          Chicago Bridge & Iron Company B.V.
Lutech Resources Inc.                 Chicago Bridge & Iron Company
Lutech Resources Limited              CB&I Oil & Gas Europe B.V.
Matrix Engineering, Ltd.              Howe-Baker Holdings, L.L.C.
Matrix Management Services, L.L.C.    Matrix Engineering, Ltd. (MANAGED
                                      BY HOWE-BAKER
                                      INTERNATIONAL MANAGEMENT,
                                      L.L.C.)
McDermott (Amazon Chartering),        J. Ray McDermott, S.A.
Inc.
McDermott Arabia Company Limited      J. Ray McDermott, S.A.; McDermott
                                      Arabia Holdings, Inc.
McDermott Asia Pacific Pte. Ltd.      J. Ray McDermott, S.A.
McDermott Asia Pacific Sdn. Bhd.      J. Ray McDermott, S.A.
McDermott Australia Pty. Ltd.         J. Ray McDermott (Aust.) Holding Pty.
                                      Limited
McDermott Blackbird Holdings, LLC McDermott, Inc.
McDermott Caspian Contractors, Inc. J. Ray McDermott, S.A.
McDermott Eastern Hemisphere, Ltd. McDermott Middle East, Inc.
McDermott Engineering, LLC            J. Ray McDermott Solutions, Inc.
McDermott Finance L.L.C.              McDermott International, Inc.
McDermott Gulf Operating Company, J. Ray McDermott, S.A.
Inc.
McDermott Holdings (U.K.) Limited J. Ray McDermott, S.A.
McDermott International               McDermott International, Inc.
Management, S. de RL.
McDermott International Marine        J. Ray McDermott International, Inc.
Investments N.V.
McDermott International Trading Co., McDermott International Investments
Inc.                                  Co., Inc.
McDermott International Vessels, Inc. J. Ray McDermott, S.A.
McDermott Investments, LLC            J. Ray Holdings, Inc.


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Debtor                                   Parent for Debtor Corporations
McDermott Marine Construction            McDermott International Trading Co.,
Limited                                  Inc.
McDermott Marine Mexico, S.A. de         McDermott Offshore Services
C.V.                                     Company, Inc.
McDermott Middle East, Inc.              J. Ray McDermott International, Inc.
McDermott Offshore Services              J. Ray McDermott, S.A.
Company, Inc.
McDermott Old JV Office, Inc.            J. Ray McDermott International, Inc.
McDermott Overseas Investment Co.        McDermott International Trading Co.,
N.V.                                     Inc.
McDermott Overseas, Inc.                 J. Ray McDermott, S.A.
McDermott Servicos Offshore do           McDermott, Inc.
Brasil Ltda.
McDermott Subsea Engineering, Inc.       J. Ray McDermott Holdings, LLC
McDermott Subsea, Inc.                   J. Ray McDermott International, Inc.
McDermott Technology (Americas),         McDermott International, Inc.
Inc.
McDermott Technology (US), Inc.          McDermott International, Inc.
McDermott Technology, B.V.               McDermott International, Inc.
McDermott Technology, LLC
McDermott Trinidad Ltd                   J. Ray McDermott International, Inc.
McDermott, Inc.                          J. Ray McDermott Holdings, LLC
Netherlands Operating Company B.V.       CB&I Oil & Gas Europe B.V.
North Atlantic Vessel, Inc.              J. Ray McDermott Holdings, LLC
North Ocean 105 AS                       J. Ray McDermott (Norway), AS
Nuclear Energy Holdings, L.L.C.          CB&I Group Inc.
Oasis Supply Company, Ltd.               Chicago Bridge & Iron Company
Oceanic Contractors, Inc.                Chicago Bridge & Iron Company
Offshore Pipelines International, Ltd.   McDermott, Inc.
OPI Vessels, Inc.
Oxford Metal Supply Limited              CB&I Constructors Limited
Pike Properties II, Inc.                 CB&I Group Inc.
Pipework Engineering and                 CB&I Group UK Holdings
Developments Limited
Prospect Industries (Holdings) Inc.      Shaw Power Services, LLC
S C Woods, L.L.C.                        CB&I Holdco, LLC
Servicios de Fabricacion de Altamira,    J. Ray McDermott Underwater Services,
S.A. de C.V.                             Inc.

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Debtor                                  Parent for Debtor Corporations
Servicios Profesionales de Altamira,    J. Ray McDermott Underwater Services,
S.A. de C.V.                            Inc.
Shaw Beneco, Inc.                       CB&I Group Inc.
Shaw Connex, Inc.                       Prospect Industries (Holdings) Inc.
Shaw Dunn Limited                       CB&I Group UK Holdings
Shaw E & I International Ltd.           CB&I International, Inc.
Shaw Energy Services, Inc.              Shaw Transmission & Distribution
                                        Services, Inc.
Shaw Fabricators, Inc.                  CB&I Group Inc.
Shaw Far East Services, LLC             S C Woods, L.L.C.
Shaw Group UK Limited                   CB&I Group UK Holdings
Shaw Home Louisiana, LLC                CB&I Group Inc.
Shaw International Inc.                 CB&I International, Inc.; CBI UK
                                        Cayman Acquisition Limited
Shaw International Management           CB&I International, Inc.
Services Two, Inc.
Shaw JV Holdings, L.L.C.           CB&I International, Inc.; CBI UK
                                   Cayman Acquisition Limited
Shaw Managed Services, LLC         CB&I Fabrication, LLC
Shaw Management Services One, Inc. CB&I Group Inc.
Shaw NC Company, Inc.              Shaw Transmission & Distribution
                                   Services, Inc.
Shaw Nuclear Energy Holdings (UK), Shaw Transmission & Distribution
Inc.                               Services, Inc.
Shaw Power Delivery Systems, Inc.  CB&I Group Inc.
Shaw Power Services Group, L.L.C.  CB&I Group Inc.
Shaw Power Services, LLC           CB&I Fabrication, LLC
Shaw Power Technologies, Inc.
Shaw Process Fabricators, Inc.     CB&I Group Inc.
Shaw Services, L.L.C.              CB&I Group Inc.
Shaw SSS Fabricators, Inc.         CB&I Group Inc.
Shaw Transmission & Distribution   Shaw Transmission & Distribution
Services International, Inc.       Services, Inc.
Shaw Transmission & Distribution   Shaw Power Delivery Systems, Inc.
Services, Inc.
SparTEC, Inc.                      McDermott, Inc.
TVL Lender II, Inc.                CB&I Group Inc.
Varsy International N.V.           J. Ray McDermott International, Inc.

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Debtor                               Parent for Debtor Corporations
Whessoe Piping Systems Limited       Chicago Bridge & Iron Company




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                       JURISDICTIONAL STATEMENT

      This appeal is from a final order of the Bankruptcy Court for the Southern

District of Texas. As set forth in more detail below, the bankruptcy court had

jurisdiction here because this was a core proceeding requiring the bankruptcy court

to interpret and enforce its confirmation order. See Travelers Indemnity Co. v.

Bailey, 129 S. Ct. 2195, 2205 (2009) (a bankruptcy court “plainly ha[s] jurisdiction

to interpret and enforce its own prior orders”). The bankruptcy court also had

“related to” jurisdiction because Mr. Van Deelen’s claims primarily arise from pre-

confirmation relations between the parties; there were clear antagonisms pending

between the parties on the date of plan confirmation; and facts or law deriving from

the bankruptcy were necessary to the claim. See Newby v. Enron Corp. (In re Enron

Corp. Sec.), 535 F.3d 325, 335 (5th Cir. 2008) (quoting In re Craig’s Stores of Texas,

Inc., 266 F.3d 388, 390 (5th Cir. 2001)).

      The District Court has jurisdiction over this appeal pursuant to 28 U.S.C. §

158(a)(1).




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               STATEMENT REGARDING ORAL ARGUMENT

      Appellees David Dickson, Stuart Spence, and Scott Lamb (collectively, the

“MDR Defendants”) respectfully suggest that oral argument is not likely to assist

the District Court in adjudicating this matter. The issues involved herein are not

legally or factually complex, nor do they present matters of first impression. For

these reasons, the MDR Defendants do not believe oral argument would be

necessary or helpful in this appeal.




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                            STATEMENT OF ISSUES
1.     Whether the bankruptcy court erred in ruling that it had jurisdiction over the
       instant action.

       Standard of Review: De Novo

2.     Whether the bankruptcy court erred in issuing a final order dismissing Mr.
       Van Deelen’s claim.

       Standard of Review: De Novo

3.     Whether the bankruptcy court erred in ruling that mandatory abstention was
       inappropriate.

       Standard of Review: De Novo

4.     Whether the heightened pleading standards of Federal Rule of Civil Procedure
       9(b) applied to Mr. Van Deelen’s complaint.

       Standard of Review: De Novo

5.     Whether the bankruptcy court erred in ruling that Mr. Van Deelen’s complaint
       did not satisfy the heightened pleading standards of Federal Rule of Civil
       Procedure 9(b).

       Standard of Review: De Novo

6.     Whether the bankruptcy court erred in denying Mr. Van Deelen’s motion for
       recusal.

       Standard of Review: Abuse of Discretion

7.     Whether the bankruptcy court erred in granting MDR Defendants’ motion to
       seal.

       Standard of Review: Abuse of Discretion




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                          STATEMENT OF THE CASE

      The chapter 11 plan of McDermott International, Inc. (“McDermott” or

“Debtor”) recognized that the value that had been held by shareholders like Mr. Van

Deelen was lost. Upset about this loss, Mr. Van Deelen objected to confirmation of

the chapter 11 plan in February 2020, based on various allegations about the

transactions leading up to filing of the chapter 11 petition as well as during the

chapter 11 proceedings.     The bankruptcy court overruled Mr. Van Deelen’s

objections and confirmed the plan on March 14, 2020.

      During the course of the proceedings, in his unbridled enthusiasm for his

position, Mr. Van Deelen made certain threatening and vulgar remarks to counsel

for the Debtors, such that the Debtors sought emergency relief from the bankruptcy

court to prohibit Mr. Van Deelen from further direct contact with the Debtors, their

current or former officers, directors and employees, and their counsel. (Bankr. Dkt.

694 ¶¶ 7, 16.) Mr. Van Deelen also made vulgar remarks toward the bankruptcy

court but later denied doing so under oath, even though such comments were

overheard by court staff and audible via microphone. (Bankr. Dkt. 719 at 1.) The

bankruptcy court observed that it was “willing to overlook the insult” but could not

“overlook a false statement.” (Id.).

      Just three months after Mr. Van Deelen’s objection to confirmation was

overruled, on June 23, 2020, Mr. Van Deelen filed suit asserting virtually the same


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allegations against the MDR Defendants—each a current or former officer of the

Debtor—as well as 10 unknown John/Jane Does in the 284th Judicial District Court

of Montgomery County, Texas (the “State Court Lawsuit”). (ROA 10-main/18.)

Among other things, Mr. Van Deelen asserted claims that were explicitly exculpated

and released in the bankruptcy court’s confirmation order.

      Given the overlap with the chapter 11 proceedings and the confirmation order,

the MDR defendants removed the State Court Lawsuit to the Bankruptcy Court for

the Southern District of Texas on July 17, 2020. (ROA 10-main/12.) Mr. Van

Deelen filed a motion to remand on July 23, 2020. (ROA 10-main/67.) In the motion,

Mr. Van Deelen asserted that the bankruptcy court lacked jurisdiction to adjudicate

the asserted claims. (Id.) Mr. Van Deelen also asserted that mandatory and

permissive abstention applied. (Id.) The MDR Defendants responded on August 13,

2020, arguing that the bankruptcy court had jurisdiction and that abstention was

inappropriate under the circumstances. (ROA 10-main/188.)

      On July 25, 2020, the MDR Defendants filed a motion to dismiss Mr. Van

Deelen’s complaint, arguing that, among other things, the claims asserted by Mr.

Van Deelen were covered by the confirmation order’s exculpation and release

provisions, and that Mr. Van Deelen had failed to satisfy the heightened pleading

standards of Rule 9(b). (ROA 10-main/93.) Two days later, on July 27, 2020, Mr.

Van Deelen filed a motion to recuse Judge Jones on the ground that, among other


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things, Judge Jones had “shredded Plaintiff’s Constitutional rights” during the

chapter 11 proceedings. (ROA 10-main/127.) Mr. Van Deelen then filed a response

to MDR Defendants’ motion to dismiss on August 12, 2020. (ROA 10-main/151.)

In his response, Mr. Van Deelen argued that the case should be remanded before the

motion to dismiss could be considered; the bankruptcy court lacked jurisdiction to

consider the motion to dismiss; mandatory abstention under § 1334(c)(2) applied;

and the confirmation order’s exculpation provisions were inapplicable. (Id.)

      Mr. Van Deelen filed a motion for entry of a default against MDR Defendants

on September 24, 2020. (Bankr. Dkt. 21.) A “corrected” version of the motion was

filed on September 25, 2020. (Bankr. Dkt. 22.) The MDR Defendants filed a

response on October 7, 2020, noting that their motion to dismiss remained pending.

(Bankr. Dkt. 23.) Mr. Van Deelen filed a reply and motion for entry of a default

judgment on October 8, 2020. (Bankr. Dkt. 26.)

      On March 10, 2021, Judge Marvin Isgur conducted a hearing on, and

ultimately denied, Mr. Van Deelen’s motion to recuse. (Audio at ROA 10-

main/277.) Thereafter, the bankruptcy court held a scheduling conference. (Docket

No. 43.) At the beginning of the scheduling conference, the bankruptcy court advised

Mr. Van Deelen that his complaint contained potential (i) claims released under

confirmation order; (ii) derivative claims owned by the bankruptcy estate; and (iii)

direct claims. (Audio at ROA 10-main/276.) The bankruptcy court then gave Mr.


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Van Deelen the opportunity to either proceed with his motion to remand or to amend

his petition. (Id.) Mr. Van Deelen elected to amend his petition. (Id.)

      Mr. Van Deelen filed his amended petition on April 8, 2021. (ROA 10-

main/278.) In his amended petition, Mr. Van Deelen continued to assert claims

against MDR Defendants for fraud and negligent misrepresentation related to events

preceding and following the Debtors’ bankruptcy filing. (Id.)

      On May 3, 2021, the MDR Defendants filed an amended motion to dismiss.

(ROA 10-main/325.) In the motion, the MDR Defendants asserted that (i) the

negligent misrepresentation claim was barred by the bankruptcy court’s

confirmation order; and (ii) both claims failed to satisfy the heightened pleading

requirements of Federal Rule of Civil Procedure 9(b). (Id.) Mr. Van Deelen filed a

response to MDR Defendant’s motion to dismiss on May 20, 2021, arguing that,

among other things, (i) he opted out of the exculpation and release provisions under

the amended plan; (ii) the bankruptcy court lacked jurisdiction to consider the

motion to dismiss; and (iii) abstention was applicable. (ROA 10-main/349.) The

MDR Defendants filed a reply in support of their motion to dismiss on June 3, 2021,

arguing that (i) the opt-out mechanism under the amended plan applied only to the

third-party release provision—not the exculpation; (ii) the bankruptcy court had

jurisdiction to enforce its confirmation order; (iii) abstention was inappropriate; and




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(iv) the fraud claim was not asserted with sufficient particularity. (ROA 10-

main/390.)

      On June 4, 2021, Mr. Van Deelen filed an emergency motion to remove the

claim for negligent misrepresentation from his first amended complaint. (ROA 10-

main/405.) On June 7, 2021, the bankruptcy court convened a second hearing on the

status of Mr. Van Deelen’s complaint and all other pending matters. (Bankr. Dkt.

55.) After a lengthy discussion, the bankruptcy court provided Mr. Van Deelen

another opportunity to file an amended complaint. (Bankr. Dkt. 55.)

      On June 18, 2021, Mr. Van Deelen filed his third amended complaint. (ROA

10-main/455.) In this version of his complaint, Mr. Van Deelen removed the

negligent misrepresentation claim, but continued to assert fraud claims against MDR

Defendants. (Id.) In addition, Mr. Van Deelen added assault and fraud claims against

the Debtors’ former lead counsel, Joshua Sussberg. (Id.) The assault claims

concerned events that supposedly took place outside the courtroom just after the

confirmation hearing. (Id.) The fraud claim focused on Mr. Sussberg’s purported

pre-petition involvement in the concealment of financial losses by the Debtors and

the decision to file bankruptcy. (Id.)

      On July 12, 2021, Mr. Sussberg filed a motion to dismiss and request for

sanctions. (ROA 10-1/8.) On the same day, the MDR Defendants likewise filed a




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motion to dismiss the third amended petition. (ROA 10-1/45.) Mr. Van Deelen filed

his responses thereto on July 26, 2021. (ROA 10-1/99; 10-1/122.)

      On August 9, 2021, the bankruptcy court conducted a hearing on all pending

matters. At the conclusion of the hearing, the bankruptcy court took the matter under

advisement.

      On August 13, 2021, Mr. Sussberg filed his supplemental motion for

sanctions. (ROA 10-1/369.) In his motion, Mr. Sussberg attached an email from Mr.

Van Deelen addressed to David Beck, counsel for Mr. Sussberg, in which Mr. Van

Deelen threatened to sue Mr. Sussberg, Mr. Beck and an unnamed process server for

serving a subpoena upon Mr. Van Deelen at his home in anticipation of the August

9, 2021, hearing. (Id.) Mr. Sussberg requested that the bankruptcy court find Mr.

Van Deelen to be a vexatious litigant and that Mr. Van Deelen be prohibited from

filing any future lawsuits related to these bankruptcy proceedings without first

obtaining court approval. (Id.)

      On August 16, 2021, Mr. Van Deelen filed his (i) response to the supplemental

motion for sanctions; (ii) motion to strike the supplemental motion for sanctions;

and (iii) motion for sanctions against David Beck—Mr. Sussberg’s counsel. (ROA

10-1/376.) Concurrent with the response, Mr. Van Deelen also filed separate motions

(i) to strike the supplemental motion for sanctions (ROA 10-1/397); and (ii) to

dismiss all claims against Mr. Sussberg pursuant to Federal Rule of Civil Procedure


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41(a)(2) due to Mr. Sussberg’s purported medical condition. (ROA 10-1/420.) Mr.

Sussberg responded on August 23, 2021. (ROA 10-1/427.)

      On October 12, 2021, the bankruptcy court issued an order, which, among

other things, granted MDR Defendants’ motion to dismiss with prejudice; granted

Mr. Sussberg’s motion to dismiss with prejudice; granted Mr. Van Deelen’s motion

to dismiss Mr. Sussberg in the alternative; denied Mr. Van Deelen’s motion to

remand; and denied Mr. Sussberg’s motion for sanctions without prejudice. (ROA

10-1/441.)




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                       SUMMARY OF THE ARGUMENT

      Mr. Van Deelen actively participated in McDermott’s bankruptcy proceedings

and objected to confirmation of McDermott’s chapter 11 plan of reorganization on

the unsupported theory that McDermott never should have filed for chapter 11 and

that its filing and the transactions leading up to and included as part of the plan were

somehow fraudulent or otherwise wrongful. Despite having the opportunity, he

presented no evidence in support of his theory, and McDermott’s plan was

confirmed over his objection. Mr. Van Deelen was made fully aware that the

confirmed plan would include the exculpation and injunction provision and would

thus prohibit parties from bringing a wide range of claims. But in complete disregard

of the bankruptcy court’s confirmation order, Mr. Van Deelen then brought this

lawsuit against McDermott officers and employees based on alleged conduct related

to the chapter 11 proceedings and related transactions, conduct explicitly exculpated

in the confirmation order.

      In his original petition, Mr. Van Deelen brought claims against the MDR

Defendants for conversion, breach of fiduciary duty, conspiracy, negligent

misrepresentation, and statutory and common law fraud based on actions the MDR

Defendants allegedly took in connection with McDermott’s bankruptcy. (ROA 10-

main/18.) MDR Defendants removed the case to the bankruptcy court and then

moved to dismiss these claims because they were subject to certain provisions of the


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court’s confirmation order, including the exculpation provision, and because the

claims did not satisfy federal pleading standards. Since that time, Mr. Van Deelen

amended his petition three times and dropped all of his claims against the MDR

Defendants except for common law fraud. Though Mr. Van Deelen amended his

claims to remove the specific claims against the MDR Defendants that had been

exculpated, the substance of his allegations remained virtually the same.

      In spite of having had four bites at the apple, Mr. Van Deelen failed to allege

with particularity the circumstances giving rise to the MDR Defendants’ purported

fraud, or to allege facts showing that the MDR Defendants had a duty to disclose

any information they allegedly omitted to provide him. Because Mr. Van Deelen

demonstrated that he could not provide even basic information necessary to plead

fraud allegations, the bankruptcy court properly dismissed Mr. Van Deelen’s claim

against the MDR Defendants.

      In so doing, the bankruptcy court properly found that, given the nature of Mr.

Van Deelen’s lawsuit and its connection to McDermott’s restructuring, these were

core proceedings over which the court could exercise jurisdiction. Given these facts,

and the fact that Mr. Van Deelen consented to the bankruptcy court’s jurisdiction by

seeking multiple default judgments against the MDR Defendants, the bankruptcy

court did not err in issuing a final order dismissing Mr. Van Deelen’s action.




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      Nor did the bankruptcy court err in rejecting Mr. Van Deelen’s requests for

mandatory abstention and recusal. In making these requests, Mr. Van Deelen failed

to show that his case could have been timely adjudicated in state court, as required

for mandatory abstention, or that Judge Jones was so biased against him as to make

fair judgment impossible, as required for recusal. The bankruptcy court was not

required, in the face of such glaring deficiencies, to grant either request.

      For these and other reasons set forth more fully below, the District Court

should deny Mr. Van Deelen’s appeal.




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                                      ARGUMENT

I.     THE   BANKRUPTCY     COURT    PROPERLY    EXERCISED
       JURISDICTION OVER THIS ACTION GIVEN MR. VAN DEELEN’S
       ALLEGATIONS DIRECTLY IMPLICATE THE CHAPTER 11
       PROCEEDINGS AND ORDERS AND HE IMPLIEDLY CONSENTED
       TO JURISDICTION.

       Bankruptcy courts derive their subject matter jurisdiction from 28 U.S.C. §§

1334 and 157. See U.S. Brass Corp. v. Travelers Ins. Grp., Inc., (In re U.S. Brass

Corp.), 301 F.3d 296, 303-05 (5th Cir. 2002). Together, and “[b]y way of district-

court referral,” these sections provide bankruptcy courts with the power to hear (1)

cases under title 11; (2) core proceedings “arising under” title 11; (3) core

proceedings “arising in” a case under title 11; and (4) non-core proceedings “related

to” a case under title 11. See 28 U.S.C. §§ 1334(b), 157(a)-(c)(1).

       The fourth category—“related to” proceedings—is the broadest, and

encompasses any proceeding for which “the outcome . . . could conceivably have

any effect . . . on the estate being administered in bankruptcy.” In re U.S. Brass

Corp., 301 F.3d at 304 (emphasis in original). Moreover, and because “the second,

third, and fourth categories . . . operate conjunctively to define the scope of

jurisdiction,” bankruptcy courts often just need “to determine whether a matter is . .

. ‘related to’ the bankruptcy.” Id.

       Still, the distinction between these categories becomes more important after

the bankruptcy court has confirmed the debtor’s plan of reorganization. The Fifth


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Circuit has held that, following confirmation, and as far as non-core, “related to”

proceedings are concerned, “bankruptcy jurisdiction[] ceases to exist, other than for

matters pertaining to the implementation or execution of the plan[,]” if: (1) the

claims primarily arise from post-confirmation relations between the parties; (2) no

claims or antagonisms were pending between the parties on the date of plan

confirmation; and (3) no facts or law deriving from the bankruptcy are necessary to

the claims. Newby v. Enron Corp. (In re Enron Corp. Sec.), 535 F.3d 325, 335 (5th

Cir. 2008) (quoting In re Craig’s Stores of Texas, Inc., 266 F.3d 388, 390 (5th Cir.

2001)). But the Fifth Circuit has also emphasized that all three of these Craig’s

Stores factors “[need] not weight heavily in the bankruptcy court’s favor” for there

to be jurisdiction. Parker v. MSB Energy, Inc. (In re MSB Energy, Inc.), 438 B.R.

571, 586 (Bankr. S.D. Tex. 2010); In re Enron Corp. Sec., 535 F.3d at 335-36.

      The Fifth Circuit has not similarly limited post-confirmation bankruptcy

jurisdiction over “core” (i.e., “arising under” or “arising in”) proceedings. See, e.g.,

Frisia Hartley, LLC v. Wells Fargo Bank, N.A. (In re Talsma), 509 B.R. 535, 547

(Bankr. N.D. Tex. 2014) (“Craig’s Stores involved claims that invoked only “related

to” jurisdiction. . . . [C]ourts have treated core proceedings differently post-

confirmation than the “related to” proceedings within the scope of Craig’s Stores.”);

Faulkner v. Eagle View Cap. Mgmt. (In re The Heritage Org., LLC), 454 B.R. 353,




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364-65 (Bankr. N.D. Tex. 2011) (concluding that Craig’s Stores did not apply to an

“arising under” proceeding brought pursuant to 11 U.S.C. 550 post-confirmation).

      In this context, “core proceedings” are those that “invoke[] a substantive right

provided by title 11” or “could arise only in the context of a bankruptcy case,” In re

U.S. Brass Corp., 301 F.3d at 304, and include proceedings which would require

interpretation of bankruptcy court orders. For example, “bankruptcy courts retain

significant jurisdiction after a discharge order is issued and a case is closed over

matters concerning the interpretation and enforcement of bankruptcy court orders . .

. Such matters fall within the Court’s ‘arising in’ and arising under’ jurisdiction.”

Cano v. GMAC Mortg. Corp. (In re Cano), 410 B.R. 506, 546 (Bankr. S.D. Tex.

2009); see also Rohi v. Brewer & Pritchard, P.C. (In re ABC Dentistry, P.A.), No.

H-16-34221-11, 2019 WL 6894775, at *7 (S.D. Tex. Dec. 17, 2019) (because the

removed action would require the bankruptcy court to interpret rights associated

with its order dividing settlement proceeds, “the Bankruptcy Court did not err in

determining that it had ‘arising in or under jurisdiction’ over the removed action”);

see also Travelers Indemnity Co. v. Bailey, 129 S. Ct. 2195, 2205 (2009) (a

bankruptcy court “plainly ha[s] jurisdiction to interpret and enforce its own prior

orders”).

      In any such core proceeding, a bankruptcy court “may enter appropriate orders

and judgments” without the consent of the parties. See 28 U.S.C. § 157(b)(1).


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      By contrast, in any post-confirmation, non-core proceedings, a bankruptcy

court exercising “related to” jurisdiction under Craig’s Stores may “hear and

determine and []enter appropriate orders and judgments” only “with the consent of

all the parties” thereto. See 28 U.S.C. § 157(c)(2). Such consent may be express or

implied. See, e.g., Villegas v. Texas State Bank (In re BFG Invs. LLC), 366 F. App’x.

513, 515 (5th Cir. 2010) (holding that party impliedly consented to the bankruptcy

court’s entry of final judgment); Beitel v. OCA, Inc. (In re OCA, Inc.), 551 F.3d 359,

368 (5th Cir. 2008) (same); M.A. Baheth & Co. v. Schott (In re M.A. Baheth Const.

Co.), 118 F.3d 1082, 1084 (5th Cir. 1997) (same); McFarland v. Leyh (In re Texas

Gen. Petroleum Corp.), 52 F.3d 1330, 1337 (5th Cir. 1995) (same); Veldekens v. GE

HFS Holdings, Inc. (In re Doctors Hosp. 1997, L.P.), 351 B.R. 813, 834 (Bankr.

S.D. Tex. 2006) (finding that, based on affirmative representations, a party had

waived any right they might have had “to prosecute their claims in the District Court

or any state court”).

      In this case, the bankruptcy court properly found that Mr. Van Deelen’s action

constituted a core proceeding over which the court could, at the very least, exercise

“related to” jurisdiction. Moreover, and even if this were not a core proceeding, the

bankruptcy court nonetheless had “related to” jurisdiction under Craig’s Stores, and

obtained implied consent from the parties to issue final orders and judgments in this

action.


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      A.     The bankruptcy court had subject matter jurisdiction because this
             was a core proceeding.

      In its final order, the bankruptcy court concluded that “[t]hese contested

matters are core proceedings under 28 U.S.C. []§ 157(b)(2)” because they “related

to the enforcement of the Court’s confirmation order and interpretation of the

confirmed plan,”     (ROA 10-1/446), and “involve[d] (i) the interpretation and

enforcement of the Amended Plan and confirmation order; (ii) the enforcement of

the Court’s injunction contained in the Amended Plan; and (iii) matters that occurred

before the Court in connection with the underlying bankruptcy proceeding,” (ROA

10-1/452).

      Despite repeated opportunities to amend his complaint, Mr. Van Deelen

continues to set forth allegations that directly implicate the chapter 11 proceedings

and the terms of the confirmation order. This type of matter falls squarely within

the definition of core proceedings.       Courts have consistently held that, even

following confirmation of a debtor’s reorganization plan, the bankruptcy court

retains jurisdiction over core proceedings, including proceedings that would require

the court to interpret or enforce its orders. See, e.g., In re Cano, 410 B.R. at 546; In

re ABC Dentistry, P.A., 2019 WL 6894775 at *7; see also Travelers Indemnity Co.,

129 S. Ct. at 2205. For that reason, it was not error for the bankruptcy court to

exercise jurisdiction in this case.



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      B.     The bankruptcy court had subject matter jurisdiction under
             Craig’s Stores because Mr. Van Deelen’s claims arose from pre-
             confirmation relations between the parties and because there were
             clear antagonisms between the parties on the date of confirmation.

      Even if this were not a core proceeding, the bankruptcy court would still have

had “related to” jurisdiction. In determining whether post-confirmation “related to”

jurisdiction exists, courts first examine the Craig’s Stores factors, which are

whether: (1) the claims primarily arise from pre-confirmation or post-confirmation

relations between the parties; (2) any claims or antagonisms were pending between

the parties on the date of plan confirmation; and (3) any facts or law deriving from

the bankruptcy are necessary to the claims. In re Enron Corp. Sec., 535 F.3d at 335;

In re MSB Energy, Inc., 438 B.R. at 571 (applying factors and finding that post-

confirmation “related to” bankruptcy jurisdiction existed).

      In this case, it is clear that Mr. Van Deelen’s common law fraud claim arose

from pre-confirmation relations between the parties. Indeed, Mr. Van Deelen based

this claim on actions that the MDR Defendants allegedly took and

misrepresentations MDR Defendants allegedly made in connection with and in the

months leading up to McDermott’s petition for relief under chapter 11. (ROA 10-

main/471 ¶ 35, 474-475 ¶¶ 39-40, 476-477 ¶¶ 42-43, 477-478 ¶¶ 45-46, 48, 480 ¶

51, 481-482 ¶ 55, 483-484 ¶ 58, 490-491 ¶ 74, 498 ¶ 99, 499 ¶ 105, 500 ¶¶ 108-112;

ROA 10-1/1 ¶ 112.) Similarly, Mr. Van Deelen’s other allegations concerned

purported conduct during the plan confirmation hearing that Mr. Van Deelen alleged

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was intended to discourage him from challenging the plan and further pursuing the

fraud allegations he had already raised to the bankruptcy court in connection with

the plan’s confirmation. Mr. Van Deelen’s claims thus clearly concerned and arose

from pre-confirmation relations between the parties, such that the first Craig’s Stores

factor weighed in favor of the bankruptcy court’s jurisdiction. See, e.g., In re Blast

Energy Servs., Inc., 396 B.R. 676, 684 (Bankr. S.D. Tex. 2008) (“[A]lthough the

dispute arose post-confirmation, the claims against Hallwood . . . arose pre-

confirmation. Thus, the claims at issue primarily deal with pre-confirmation

relations between the parties[.]”); In re MSB Energy, Inc., 438 B.R. at 586 (holding

that the first factor “weighs heavily in favor of bankruptcy court jurisdiction”

because “the subject of the Adversary Proceeding” occurred before the confirmation

date).

         With regard to the second factor, there were obvious “antagonisms” pending

between the parties on the date of confirmation. At that time, Mr. Van Deelen had

already filed a motion objecting to McDermott’s plan of reorganization, and had

accused the company and the MDR Defendants of acting in bad faith “for the sole

purpose of enriching McDermott’s management and Board.” (Bankr. Dkt. 510,

Motion at 6-15.) Moreover, during the confirmation hearing itself, Mr. Van Deelen

made certain threatening and vulgar remarks to counsel for the Debtors, such that

the Debtors sought emergency relief from the bankruptcy court to prohibit Mr. Van


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Deelen from further direct contact with the Debtors, their current or former officers,

directors and employees, and their counsel. (Bankr. Dkt. 694 ¶¶ 7, 16.). This is more

than enough to satisfy the second factor. See, e.g., In re MSB Energy, Inc., 438 B.R.

at 586 (second factors “weighs heavily in favor” of bankruptcy court jurisdiction

because the plaintiffs had filed a motion to lift the automatic stay and objected the

reorganization plan prior to the confirmation hearing).

      At this point, and given that the first and second factors were satisfied here,

the bankruptcy court did not even need to consider the third factor to find that it had

jurisdiction over this proceeding. Id. at 586-87 (“[P]ursuant to the analysis presented

in Enron, the Court retains its jurisdiction even if the third factor fails.”).

Nonetheless, the third factor is also met because Mr. Van Deelen’s factual

allegations continue to rely on claims about the chapter 11 proceedings themselves.

(ROA 10-main/480-481 ¶¶ 52-54, 490 ¶ 73, 492-495 ¶¶ 81-86.)

      C.     Mr. Van Deelen impliedly consented to the bankruptcy court’s
             jurisdiction.

      In his brief, Mr. Van Deelen argues that he never consented to the bankruptcy

court’s jurisdiction, such that the bankruptcy court could not issue any final orders

on the MDR Defendants’ motion to dismiss. (Dkt. 12 at 28.) That is not the case.

Though Mr. Van Deelen has previously objected to the bankruptcy court’s

jurisdiction, he waived any such objections by seeking to have the bankruptcy court

enter a default judgment against MDR Defendants in these proceedings.

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Specifically, in September 2020, Mr. Van Deelen filed three requests for entry of

default, (Bankr. Dkt. 17, 19, 21), and one “corrected” request for entry of default,

(Bankr. Dkt. 22) (the “Requests”), against the MDR Defendants. In each of these

Requests, Mr. Van Deelen not only sought a final order and judgment against the

MDR Defendants, but he also expressly acknowledged that “[t]his [bankruptcy]

Court has jurisdiction over this matter . . . .” (Dkt. Nos. 17, 19, 21, 22.) These

actions are patently inconsistent with Mr. Van Deelen’s current position that the

bankruptcy court lacked the consent of the parties (and thus jurisdiction) to enter a

final judgment in this case.

      Because the bankruptcy court had “related to” jurisdiction for the reasons set

forth above, and because the parties impliedly consented (or otherwise waived their

existing objections) to the entry of a final order or judgment, this Court should reject

Mr. Van Deelen’s argument. See, e.g., In re BFG Invs. LLC, 366 F. App’x. at 515

(holding that party impliedly consented to the bankruptcy court’s entry of final

judgment); In re OCA, Inc., 551 F.3d at 368 (same); In re G.S.F. Corp., 938 F.2d

1467, 1476-77 (1st Cir. 1991) (“Rather than submitting proposed findings to the

district court. . . the bankruptcy court purported to enter a final order on the matter.

We find, however, that this flaw was cured by the parties’ consent . . . The

determinative indication of acquiescence was the decision of Lowell and Chase to

to file [a stipulation] with the bankruptcy court, for entry as a final judgment. There


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can be no clearer sign of consent.”); DuVoisin v. Foster (In re S. Indus. Banking

Corp.), 809 F.2d 329, 331 (6th Cir. 1987) (“We also find that appellant Foster

consented to jurisdiction by acknowledging the jurisdiction of the bankruptcy court

several times during the proceedings.”); In re Doctors Hosp. 1997, L.P., 351 B.R. at

834 (finding that, based on affirmative representations, a party had waived any right

they might have had “to prosecute their claims in the District Court or any state

court”).1

II.      MANDATORY ABSTENTION IS INAPPROPRIATE HERE
         BECAUSE MR. VAN DEELEN’S CLAIM COULD NOT HAVE BEEN
         TIMELY ADJUDICATED IN STATE COURT.
         The party seeking mandatory abstention must show that: (1) the claim has no

independent basis for federal jurisdiction, other than section 1334(b); (2) the claim

is a non-core proceeding, i.e., it is related or in a case under title 11; (3) an action

has been commenced in state court; and (4) the action could be adjudicated timely

in state court. Edge Petroleum Operating Co. v. GPR Holdings, LLC (In re TXNB

Internal Case), 483 F.3d 292, 300 (5th Cir.), cert. denied, 128 S. Ct. 613 (2007).

         Specifically, the party seeking mandatory abstention must prove the existence

of each element by a preponderance of the evidence. Brown v. Shepherd (In re Lorax


1
      Nevertheless, and to the extent this Court determines that Mr. Van Deelen did not impliedly
      consent to the bankruptcy court’s jurisdiction, or that the bankruptcy court otherwise did not
      have the authority to enter its final order, the MDR Defendants respectfully request that the
      District Court treat the final order as proposed findings of fact and conclusions of law in
      accordance with Fed. R. Bankr. P. 8018.1.

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Corp.), 295 B.R. 83, 90 (Bankr. N.D. Tex. 2003). A party is not entitled to mandatory

abstention if it fails to prove any one of the statutory requirements. Id.; see also

Montalvo v. Vela (In re Montalvo), 559 B.R. 825, 842 (Bankr. S.D. Tex. 2016) (the

bankruptcy court refused to abstain because the fourth factor was not demonstrated).

      Mr. Van Deelen did not satisfy his burden of showing that this action could

be adjudicated timely in state court, such that the bankruptcy court should have

abstained here. Factors relevant to this prong include “(a) the extent to which the suit

has already been prosecuted in state court, (b) the expectation of when the state court

trial will commence, and (c) evidence in contravention that the state court could

adjudicate the case timely.” Premier Pipe, LLC v. J.D. Fields & Co. (In re Hallwood

Energy, L.P.), No. 09-31253-H4-11, 2009 WL 2601294, at *8 (Bankr. S.D. Tex.

Aug. 24, 2009).

      In this case, Mr. Van Deelen presented no evidence of prosecution, nor could

he—Mr. Van Deelen did not prosecute this action beyond filing his original petition

in state court in 2020. While Mr. Van Deelen repeatedly amended his complaint to

remove claims against the MDR Defendants—from six claims to one—the basic

underlying allegations remained the same in that Mr. Van Deelen took issue with the

bankruptcy filing and the confirmed plan of reorganization.

      Nor did Mr. Van Deelen serve or otherwise engage in any discovery on any

of his claims (new or old), file any motions or set such motions for hearing, or seek


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or obtain any orders from the state court. Given this lack of prosecution, and the

bankruptcy court’s intimate familiarity with the bankruptcy proceedings on which

Mr. Van Deelen has based his claims against the MDR Defendants, mandatory

abstention was inappropriate here. See, e.g., In re Doctors Hosp. 1997, L.P., 351

B.R. at 846 n.29 (“[T]he record reflects that during the 41 days that the suit was

pending in [state] court, virtually nothing occurred. No hearings were held, no

motions were filed, no discovery was conducted, and no orders were entered on the

docket. Thus, unlike this Court, the Harris County District Court has no background

at all about the nature of this lawsuit or the substantive issues to be adjudicated.”).

      Another factor relevant to this analysis is whether the case was set for trial.

Because Mr. Van Deelen did not—and could not—show that his case against the

MDR Defendants was set for trial prior to removal, the fourth prong of the

mandatory abstention analysis weighs against abstention. See, e.g., In re Montalvo,

559 B.R. at 842 (the bankruptcy court refused to abstain because the fourth factor

was not demonstrated); Petroleum Prods. & Servs., Inc. v. McClinton Energy Grp.,

LLC (In re Petroleum Prods. & Servs., Inc.), 561 B.R. 662, 666 (Bankr. S.D. Tex.

2016) (courts in this circuit view a docket-control order setting dates for trial as

evidence “sufficient to show that the state court will be familiar with the case and

prosecute it efficiently”); see also Mugica v. Helena Chem. Co. (In re Mugica), 362

B.R. 782, 793 (Bankr. S.D. Tex. 2007) (mandatory abstention was required when


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the plaintiffs demonstrated a history of prosecution in state court, including a trial

setting).

         As such, in the absence of any evidence that Mr. Van Deelen had prosecuted

his action or that trial was to commence on a given date, the fourth prong of the

mandatory abstention analysis weighed against abstention, and the bankruptcy

court’s decision not to abstain was proper. See In re Lorax Corp., 295 B.R. at 90

(party not entitled to mandatory abstention if it fails to prove any one of the statutory

requirements).

III.     THE BANKRUPTCY COURT DID NOT ERR IN DISMISSING THIS
         CASE FOR FAILURE TO STATE A CLAIM BECAUSE MR. VAN
         DEELEN DID NOT SATISFY RULE 9(B)’S HEIGHTENED
         PLEADINGS STANDARDS.
         Federal Rule 9(b) requires that a complaint state “the who, what, when, and

where” of the alleged fraud. Williams v. WMX Techs., Inc., 112 F.3d 175, 178 (5th

Cir. 1997). In other words, “to plead fraud with particularity a plaintiff must include

the ‘time, place and contents of the false representations, as well as the identity of

the person making the misrepresentations and what [the defendant] obtained

thereby.’” United States ex rel. Barrett v. Johnson Controls, Inc., No. 3:01-CV-

1641-M, 2003 U.S. Dist. LEXIS 5973, at *32 (N.D. Tex. Apr. 9, 2003) (citing United

States ex rel. Russell v. Epic Healthcare Mgmt. Group, 193 F.3d 304, 308 (5th Cir.

1999)). Further, courts are required to “apply the rule with force, without

apology.” Williams, 112 F.3d at 178.

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      Despite having had numerous opportunities to amend his allegations and

address any pleading defects, Mr. Van Deelen failed to satisfy his burden of pleading

common law fraud, and the bankruptcy court properly dismissed his complaint. The

issues with his complaint were two-fold.

      First, Mr. Van Deelen did not identify with sufficient particularity the “false

representations” that the MDR Defendants individually made to him or show why

such statements were false. Instead, Mr. Van Deelen repeatedly excerpted various

letters, press releases, or reports, and then alleged, in conclusory fashion, that

“Defendants”—as an undifferentiated whole—made or reviewed or approved

statements in the excerpted material. (ROA 10-main/466-467 ¶ 24 (Defendants

published a letter), 468 ¶ 26 (Defendants reviewed and approved first quarter report),

469-470 ¶ 30 (Defendants reviewed and approved reports, slides, and presentations),

472 ¶ 37 (Defendants issued a statement), 477 ¶ 44 (Defendants issued a press

release), 477-478 ¶ 46 (Defendants had subsequent communications with plaintiff),

478 ¶ 48 (Defendants issued a press release), 482 ¶ 56 (Defendants created and

issued a press release), 485 ¶ 63 (Defendants approved Form 10-Q), 488 ¶ 68

(Dickson, Lamb, and Sussberg wrote and issued a press release).)

      This did not satisfy Mr. Van Deelen’s burden under Federal Rule 9(b). As a

threshold matter, it was not enough for Mr. Van Deelen to excerpt third-party

statements, allege that Defendants collectively reviewed or approved such


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statements, and then sue Defendants for fraud. See Williams, 112 F.3d at 179 (“These

vague pleadings illustrate the practical basis for the requirement that a plaintiff point

to specific statements made by the defendants. Many of the newspaper excerpts

attached to [plaintiffs’] complaint . . . [do not] specify[] who gave information to the

paper. These excerpts, standing alone, cannot satisfy the “who, what, when, where,

and how” required by Rule 9(b).”).

      Mr. Van Deelen, at the very least, had to show either that the MDR Defendants

adopted the statements; the MDR Defendants represented the statements “were true

or at least in accordance with [their] view[s]”; or the MDR Defendants “used the

[third party] as a conduit, making false and misleading statements to the [third party]

with the intent that the [third party] communicate those statements to the market.”

Southland Sec. Corp. v. INSpire Ins. Sols., Inc., 365 F.3d 353, 373-74 (5th Cir. 2004)

(also holding that the pleading should “point to specific interactions between the

[defendant] and the [third party] which allegedly gave rise to the entanglement

[between the defendant’s and third party’s statements],” and state the dates on which

these interactions occurred). Mr. Van Deelen failed to allege any such facts.

      Mr. Van Deelen also failed to plead, with respect to the statements that

“Defendants” allegedly authored themselves, which Defendant(s) individually made

the statements. Instead, Mr. Van Deelen repeatedly referred to Defendants as a

collective whole and failed to distinguish among them—exactly the kind of “group


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pleading” that courts in the Fifth Circuit have found not to satisfy the heightened

pleading requirements of Federal Rule 9(b). See, e.g., Southland, 365 F.3d at 365

(“Consistent with our rejection of the ‘group pleading’ doctrine, we do not construe

allegations contained in the Complaint against the ‘defendants’ as a group as

properly imputable to any particular individual defendant unless the connection

between the individual defendant and the allegedly fraudulent statement is

specifically pleaded.”); Luppino v. York, No. SA-16-CV-00409-RCL, 2017 WL

8161008, at *3 (W.D. Tex. Nov. 27, 2017) (“[H]is failure to state with particularity

in what fraudulent conduct each particular defendant engaged (i.e. what

representations each made in his individual capacity, what knowledge each had of

the falsity of any representations, etc.) was fatal to his claim for fraud.”); Ingalls v.

Edgewater Private Equity Fund III, L.P., No. H-05-1392, 2005 WL 2647962, at *5

(S.D. Tex. Oct. 17, 2005) (“Group pleading fails to satisfy the requirement of the

who, what, where, why, and when of the fraud to be specified.”) (quoting Glaser v.

Enzo Biochem, Inc., 303 F. Supp. 2d 724, 734 (E.D. Va. 2003) (internal citation

omitted)); Coates v. Heartland Wireless Commc’ns., Inc., 26 F. Supp. 2d 910, 915

(N.D. Tex. 1998) (“[A] plaintiff must ‘plead with sufficient particularity attribution

of the alleged misrepresentations and omissions to each defendant; the plaintiff is

obligated to ‘distinguish among those they sue and enlighten each defendant as to

his or her part in the alleged fraud.’”).


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       In his voluminous complaint, Mr. Van Deelen only pointed to a couple of

specific statements by a particular Defendant. But Mr. Van Deelen did not identify

what was allegedly fraudulent about those particular statements, which were general

in nature, or allege that these statements reasonably induced reliance. (ROA 10-

main/482 ¶ 56 (citing statement allegedly made by David Dickson that “This new

credit agreement is a continued signal from our lenders that they support

McDermott, our underlying business growth strategy and ability to achieve a long-

term balance sheet solution. The Agreement provides near-term liquidity for the

Company to manage working capital and provide performance guarantees on

expected new awards.         We remain focused on serving our customers’ needs,

supporting our dedicated employees and maintaining our valued relationships with

our subcontractors, suppliers and other business counterparties, all as part of our

efforts to enhance our position as a premier, fully integrated provided to technology,

engineering and construction solutions to the energy industry.”).)

       Second, and as it concerns Defendants’ alleged omissions,2 Mr. Van Deelen

failed to plead facts showing that the MDR Defendants had a duty to disclose the


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    ROA 10-main/467-568 ¶ 25 (Defendants concealed material losses), 468 ¶ 28; 469 ¶ 29
    (same), 470 ¶¶ 32, 33 (same), 471 ¶ 34 (Defendants did not disclose investigation), 471 ¶ 35
    (Defendants did not disclose “Financing Case”), 474 ¶ 39 (same), 475 ¶ 40 (Defendants
    concealed financial condition of company, losses, capital needs, Financing Case, and SEC
    investigation), 476 ¶ 42 (Defendants concealed financial condition of company), 476-477 ¶ 43
    (Defendants concealed decision to declare bankruptcy), 477 ¶ 45 (same), 477-478 ¶ 46
    (Defendants concealed financial condition of company), 478 ¶ 48 (Defendants concealed
    decision to declare bankruptcy), 480 ¶ 51 (Defendants concealed financial condition of
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allegedly omitted information to him. See Bradford v. Vento, 48 S.W.3d 749, 755

(Tex. 2001) (“As a general rule, a failure to disclose information does not constitute

fraud unless there is a duty to disclose the information.”); id. (“Whether such a duty

exists is a question of law.”).

      But that is not surprising. Under Texas law, “no duty of disclosure [generally]

arises without evidence of a confidential or fiduciary relationship.” See Mercedes-

Benz USA, LLC v. Carduco, Inc., 583 S.W.3d 553, 562 (Tex. 2019) (quoting Ins.

Co. of N. Am. v. Morris, 981 S.W.2d 667, 674 (Tex. 1998)). In this case, Mr. Van

Deelen did not and could not plead facts to show that the MDR Defendants had a

formal fiduciary relationship with him. See Morris, 981 S.W.2d at 674 (a fiduciary

duty can arise “as a matter of law in certain formal relationships, including attorney-

client, partnership, and trustee relationships”) (citations omitted). Indeed, the Texas

Supreme Court has expressly declined to “impos[e] on directors and officers a

[formal] fiduciary duty to individual shareholders”. Ritchie v. Rupe, 443 S.W.3d

856, 890 & n.62 (Tex. 2014). Moreover, and in reaching this decision, the court




   company), 481-482 ¶ 55 (same), 483-484 ¶ 58 (same), 484 ¶ 60 (Defendants concealed
   “October 22 Agreement”), 485 ¶ 62 (Defendants concealed third quarter results), 485-486 ¶ 64
   (Defendants concealed SEC investigation), 490-491 ¶ 74 (Defendants concealed financial
   condition of company and decision to declare bankruptcy), 498 ¶ 99 (Defendants concealed
   financial condition of company), 499 ¶ 105 (same), 499 ¶ 108 (same), 500 ¶ 109 (Defendants
   concealed losses), 500 ¶ 110 (Defendants concealed decision to file for bankruptcy), 500 ¶ 111
   (Defendants concealed pre-packaged bankruptcy plan), 500-501 ¶ 112 (Defendants concealed
   that future lending was tied to bankruptcy).

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cited Mark J. Loewenstein & William K.S. Wang, The Corporation as Insider

Trader, 30 Del. J. Corp. L. 45, 42 (2005) for the proposition that:

      The very idea that a corporation has a fiduciary duty to individual
      shareholders is troubling. The corporation can act only through its
      board of directors, officers, employees, and other agents. These actors
      are obligated to act in the best interests of the corporation, which may
      not coincide with the best interests of an individual shareholder
      transacting business with the corporation. There is no reason to impose
      a fiduciary obligation on these actors to act in the best interest of an
      individual shareholder when that shareholder proposes a course of
      conduct not in the best interests of the corporation.

Id. (emphasis added).

      The same reasoning applies with equal force here: the MDR Defendants were

obligated to act in the best interests of McDermott, and owed only McDermott—not

individual shareholders like Mr. Van Deelen—a formal fiduciary duty. Mr. Van

Deelen’s conclusory argument to the contrary was therefore doomed to fail. Bell Atl.

Corp. v. Twombly, 127 S. Ct. 1955, 1959 (2007) (plaintiff required to provide more

than “labels and conclusions, and a formulaic recitation of the elements of a cause

of action”).

      As was any argument concerning informal fiduciary duties. Informal fiduciary

duties arise where the “parties have dealt with each other in such a manner for a long

period of time that one party is justified in expecting the other to act in its best

interest.” Morris, 981 S.W.2d at 674; see also Meyer v. Cathey, 167 S.W.3d 327,

331 (Tex. 2005) (an informal relationship giving rise to a duty may also be formed


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from “a moral, social, domestic or purely personal relationship of trust and

confidence”). Mr. Van Deelen pleaded no facts to show that he had any such

relationship of trust with Defendants.

      Finally, Mr. Van Deelen argues in his brief, as he did in the bankruptcy court,

that because he did not plead federal claims, he was not required to satisfy the

heightened pleading standards under Rule 9(b). (ROA 10-1/114.) But whether Rule

9(b) applies to a given claim simply turns on the forum in which such claim is

pending and the nature of the allegations supporting the claim. Where, as here, a

party is litigating his claims in federal court, and where the claims “alleg[e] fraud or

mistake,” the heightened pleading standards of Rule 9(b) apply. See Fed. R. Civ. P.

9(b); Fed. R. Civ. P. 81(c)(1) (“These rules apply to a civil action after it is removed

from a state court.”); see also, e.g., Kearns v. Ford Motor Co., 567 F.3d 1120, 1125

(9th Cir. 2009) (“It is well settled that the Federal Rules of Civil Procedure apply in

federal court, irrespective of the source of the subject matter jurisdiction, and

irrespective of whether the substantive law at issue is state or federal.”); Braden v.

Tornier, Inc., No. C09-5529RJB, 2009 WL 3188075, at *2 (W.D. Wash. Sept. 30,

2009) (“The Court understands Plaintiffs’ plight—being held to one pleading

standard in state court, where they chose to file their case, and being held to another

after the case is removed. However, the law is clear . . . This action has now been

removed the federal rules apply.”).


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        For these reasons, Mr. Van Deelen failed to plead his common law fraud claim

with sufficient particularity, and the bankruptcy court properly dismissed such claim

under Rule 9(b).

IV.     THE BANKRUPTCY COURT DID NOT ERR IN DENYING MR. VAN
        DEELEN’S MOTION TO RECUSE GIVEN THAT HE DID NOT
        PRESENT ANY EVIDENCE OF UNFAIR ANTAGONISM OR
        PREJUDICE BY THE COURT.

        28 U.S.C. § 455 provides that a party may request a judge recuse himself if

“his impartiality might reasonably be questioned,” id. § 455(a), or “he has a personal

bias or prejudice concerning a party,” id. § 455(b)(1).

        In interpreting this statute, the Fifth Circuit has held that “the standard for bias

is not subjective,” and that “it is with reference to the well-informed, thoughtful and

objective observer, rather than the hypersensitive, cynical, and suspicious person

that the objective standard is currently established.” Andrade v. Chojnacki, 338 F.3d

448, 454-455 (5th Cir. 2003). The Fifth Circuit has also held that the relevant context

for purposes of 28 U.S.C. § 455 is “the entire course of judicial proceedings, rather

than isolated incidents,” id. at 455, and that the movant bears the burden of proving

bias or partiality by clear and convincing evidence. Kinnear-Weed Corp. v. Humble

Oil & Refin. Co., 441 F.2d 631, 634 (5th Cir. 1971).

        Finally, the Supreme Court has applied the “extrajudicial source rule” to

disputes concerning the interpretation of § 455. This rule “divides events occurring

or opinions expressed in the course of judicial proceedings from those that take place

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outside of the litigation context and holds that the former rarely require recusal,”

Chojnacki, 338 F.3d at 455.:

            First, judicial rulings alone almost never constitute a
            valid basis for a bias or partiality motion. In and of
            themselves (i.e., apart from surrounding comments or
            accompany opinion), they cannot possibly show reliance
            upon an extrajudicial source; and can only in the rarest
            circumstances evidence the degree of favoritism or
            antagonism required (as discussed below) when no
            extrajudicial source is involved. Almost invariably, they
            are proper grounds for appeal, not recusal. Second,
            opinions formed by the judge on the basis of facts
            introduced or events occurring in the course of the
            current proceedings, or of prior proceedings, do not
            constitute a basis for a bias or partiality motion unless
            they display a deep-seated favoritism or antagonism that
            would make fair judgment impossible. Thus, judicial
            remarks during the course of a trial that are
            disapproving of, or even hostile to, counsel, the parties,
            or their cases, ordinarily do not support a bias or
            partiality challenge. They may do so if they reveal an
            opinion that derives from an extrajudicial source; and they
            will do so if they reveal such a high degree of favoritism
            or antagonism as to make fair judgment impossible. . . .
            Not establishing bias or partiality, however, are
            expressions of impatience, dissatisfaction, annoyance,
            and even anger, that are within the bounds of what
            imperfect men and women, even after having been
            confirmed as federal judges, sometimes display. A judge’s
            ordinary efforts at courtroom administration--even a
            stern and short-tempered judge’s ordinary efforts at
            courtroom administration--remain immune.

Liteky v. United States, 114 S. Ct. 1147, 1157 (1994) (emphases added).

      Mr. Van Deelen based his requests for recusal on the same arguments that the

Liteky Court found insufficient: namely, that the bankruptcy court “shredded” his

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Constitutional rights by “refusing to hear Plaintiff’s motions in the McDermott

International bankruptcy case”; “by falsely accusing Plaintiff of improper acts

during the pendency of the bankruptcy case”; “by telling the attorneys for the

Defendants herein that they ‘were the smartest people in the country’ while accusing

Plaintiff in open court of ‘knowing nothing’”; and “by unconstitutionally issuing a

permanent injunction against the Plaintiff without affording a hearing or trial.”

(ROA 10-main/69, 81.)

      These arguments do not demonstrate any prejudice or antagonism, much less

what would be required for recusal. See, e.g., Liteky, 114 S. Ct. at 1157 (holding that

movant for recusal would need to show “a deep-seated . . . antagonism that would

make fair judgment impossible”).

      As a threshold matter, Mr. Van Deelen failed to provide any evidence in

support of his arguments—much less the “clear and convincing” evidence he needed

for his recusal motion. See Kinnear-Weed Corp., 441 F.2d at 634. Mr. Van Deelen

specifically failed to explain the context in which the bankruptcy court’s alleged

actions or statements arose. Such context is important because “[t]he judge who

presides [over the proceedings] may, upon completion of the evidence, be

exceedingly ill disposed towards [a party], who has been shown to be a thoroughly

reprehensible person. But the judge is not thereby recusable for bias or prejudice,

since his knowledge and the opinion it produced were properly and necessarily


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acquired in the course of the proceedings, and are indeed sometimes . . . necessary

to the completion of the judge’s task.” Liteky, 114 S. Ct. at 1155.

      In this case, for example, Mr. Van Deelen repeatedly acted in an

unprofessional manner toward the bankruptcy court and Debtors’ counsel. As

previously discussed, Mr. Van Deelen made certain threatening and vulgar remarks

to Debtors’ counsel during the confirmation hearing, prompting the Debtors to seek

emergency relief from the bankruptcy court prohibiting Mr. Van Deelen from further

direct contact with the Debtors, their current or former officers, directors and

employees, and their counsel. (ROA 10-1/193-194 ¶ 7, 197 ¶ 16.) Mr. Van Deelen

also made vulgar remarks toward the bankruptcy court during the confirmation

hearing and later appeared unannounced and uninvited at one of the Defendants’

homes. (Id. 193-194 ¶ 7, 194 ¶ 8.) Most significantly, Mr. Van Deelen denied under

oath that any such comments were made, even though they were overheard by court

staff and audible via microphone. (ROA 10-2/456.) As the bankruptcy court

observed, “the Court was willing to overlook the insult” but it could not “overlook

a false statement.” (Id.)

      Thus, any “critical or disapproving” remarks arising from this context are to

be expected, not the sort that could not give rise to recusal. See Wilborn v. Wells

Fargo Bank, N.A. (In re Wilborn), 401 B.R. 848, 860 (Bankr. S.D. Tex. 2009) (“A

judge’s comments that form the basis of a recusal motion should not be viewed in


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isolation, but rather must be viewed in context.”); LoCascio v. United States, 473

F.3d 493, 497 (2d Cir. 2007) (judge’s comments during a scheduling hearing, when

read in context, “revealed neither ‘an opinion that derives from an extrajudicial

source’ nor ‘such a high degree of favoritism or antagonism as to make fair judgment

impossible’”): United States v. Pearson, 203 F.3d 1243, 1277 (10th Cir. 2000)

(holding that recusal based on the judge’s comments relating to a party’s pleadings

was not warranted “after reviewing the judge’s comments in context”); In re

Martinez-Catala, 129 F.3d 213, 221 (1st Cir. 1997) (judge’s remark that the

plaintiffs were “political sweet potatoes” did not warrant recusal when viewed in

context).

      Finally, Mr. Van Deelen failed to show how the bankruptcy court’s alleged

actions represent anything more than “critical or disapproving” remarks,

“expressions of impatience, dissatisfaction, annoyance, [or] anger,” or “ordinary

efforts at courtroom administration.” Liteky, 114 S. Ct. at 1157. In short, Mr. Van

Deelen failed to show the prejudice or antagonism necessary to support his requests

for recusal. See, e.g., Smith v. Houston EEOC, No. 4:20-CV-1664, 2020 WL

3542433, at *5 (S.D. Tex. June 30, 2020) (unsupported allegations that the court

“spent an eternity degrading and attac[k]ing people [and] stating on the record that

[the Court] had no regard for anything the Plaintiff had to say” did not set forth

legally recognizable basis for recusal); Silva v. Spring Branch Indep. School Dist.,


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No. H-16-0545, 2016 WL 7441709, at *2 (S.D. Tex. Dec. 22, 2016) (unsupported

allegations that magistrate judge “repeatedly yelled” at pro se Plaintiff and refused

to let her argue any of the facts in her motions did not support recusal); Haskett v.

Orange Energy Corp., 161 F. Supp. 3d 471, 474 (S.D. Tex. 2015) (no bias or

impartiality where movant alleged that the court “permitted the defendants . . . to

engage in an extensive campaign of ad hominem personal attacks having no

relevance to the merits of the cases whatsoever, but which appear to have palpably

prejudiced [the Court] against Plaintiff”).

V.     THE BANKRUPTCY COURT DID NOT ERR IN GRANTING MDR
       DEFENDANTS’ MOTION TO SEAL

       Mr. Van Deelen has not shown that the bankruptcy court abused its discretion

by granting the MDR Defendant’s motion to seal.              See, e.g., SEC v. Van

Waeyenberghe, 990 F.2d 845, 848 (5th Cir. 1993) (“Because ‘[t]he decision as to

access is one left to the sound discretion of the trial court,’ we review the district

court’s decision to seal the settlement agreement for abuse of discretion.’”) (internal

citations omitted). Instead, Mr. Van Deelen’s sole objection appears to be that the

order was improper because Mr. Van Deelen “had no intention to file[] the

documents contained in the Defendants’ Emergency Motion to Seal.” (Dkt. 12 at

51). That is plainly irrelevant. As Mr. Van Deelen concedes, the Bankruptcy Code

empowers the bankruptcy court to seal documents containing confidential or

“defamatory matter,” id., and the MDR Defendants expressly sought a sealing order

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because the underlying documents contained defamatory matter.            (ROA 10-

main/261.) Given that Mr. Van Deelen does not dispute that the documents contain

defamatory material, he has not satisfied his burden of showing the bankruptcy court

abused its discretion by sealing the documents, and the District Court should deny

his appeal.

                                 CONCLUSION

      Mr. Van Deelen’s appeal continues to press the same theories he argued in

objecting to confirmation of McDermott’s chapter 11 plan.          Mr. Van Deelen

impliedly consented to the bankruptcy court’s jurisdiction by seeking a default

judgment. But even if he had not done so, the allegations in his lawsuit are so

intertwined with the chapter 11 proceedings and interpretation of the confirmation

order that there can be no genuine question about whether the bankruptcy court had

subject matter jurisdiction over, and could enter a final order or judgment in, these

proceedings and that abstention was not appropriate. Nor was there was any error

in the bankruptcy court denying Mr. Van Deelen’s motion to recuse given he has

never pointed to any evidence of unfair prejudice. And the bankruptcy court

properly dismissed Mr. Van Deelen’s case because he failed to satisfy the heightened

pleading standard of Rule 9(b), a standard that he never argued he met but instead

wrongly contended did not apply. Finally, the bankruptcy court did not abuse its

broad discretion in granting the MDR Defendant’s motion to seal.


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Houston, Texas
Dated: January 6, 2022                    Respectfully submitted,

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                             CERTIFICATE OF SERVICE

      I hereby certify that on January 6, 2022, I caused a true and correct copy of

the foregoing document to be served via the Court’s ECF notification system to the

parties listed below at the email addresses listed

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                     CERTIFICATE OF COMPLIANCE

  The undersigned certifies that the foregoing document contains 9,349 words,

excluding the portions of the brief exempted by Federal Rule of Bankruptcy

Procedure 8015(g).


                                    /s/ Jamie Alan Aycock
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